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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

KIMBERLY TEMPLETON,                          §
    Plaintiff,                               §
                                             §
                                             §
                                             §    CIVIL ACTION 3:06-CV-0337-L
       V.                                    §           (ECF)
                                             §
                                             §
CARDIOVASCULAR PROVIDER                      §
RESOURCES, INC. d/b/a THE                    §
HEARTPLACE.                                  §
    Defendant.                               §


      PLAINTIFF KIMBERLY TEMPLETON’S AMENDED COMPLAINT


                                 I. INTRODUCTION

       1. This is a proceeding for reinstatement, injunctive relief and damages to redress
the deprivation by Defendant Cardiovascular Provider Resources, Inc. d/b/a The
Heartplace (“Defendant”) of plaintiff Kimberly Templeton’s (“Templeton”) rights as an
employee under the laws and statutes of the United States of America and State of Texas.


                            II. JURISDICTION & VENUE

       2. The court’s jurisdiction is invoked under 28 U.S.C. § 1331.

       3. This case was originally filed July 6, 2005, in Tarrant County, Texas District
Court, and was removed February 23, 2006, to the United States District Court for the
Northern District of Texas, Dallas Division.

                                     III. PARTIES

       4. Templeton is a resident of Cleburne, Johnson County, Texas.

       5. Defendant is a Nevada corporation doing business in the state of Texas.




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                          IV. STATEMENT OF FACTS

      6. Templeton began working for defendant in its Richardson, Texas location as
         an unpaid intern echo cardiographer in about May 2002.

      7. Defendant hired Templeton as an echo cardiographer in its Arlington, Texas
         location beginning October 8, 2002.

      8. In October/November 2003, Templeton’s obstetrician advised Templeton that
         she needed surgery for a health condition.

      9. Templeton notified her supervisor Diane Salazar of the health condition; that
         she needed time off to seek treatment for the health condition and requested
         time off to seek treatment.

      10. At the time of this request, Templeton had worked for the defendant for
          twelve months and for at least 1250 hours during the previous twelve months.

      11. At the time of this request, the defendant employed more 50 employees within
          a 75 mile radius of the Arlington, Texas location where Templeton worked.

      12. The surgical treatment for Templeton’s health condition required an in-patient
          stay in a hospital and more than three consecutive days of incapacity.

      13. Templeton was a qualified employee within the meaning of the Family
          Medical Leave Act (FMLA)

      14. The defendant was an “employer” within the meaning of the FMLA.

      15. Salazar was hostile to Templeton’s request for time off for treatment for the
          health condition and interfered with her attempt to seek medical treatment by
          denying Templeton’s requests for leave for treatment and by canceling
          appointments Templeton had already made for treatment.

      16. During the same October/November 2003 time period, Templeton had what
          she thought was a heart attack with symptoms that included rapid heartbeat,
          numbness, dizziness and shortness of breath.

      17. Templeton visited the emergency room (ER) where she was diagnosed with
          super ventricular tachycardia, known as SVT, and told by the ER doctor to
          seek treatment from a cardiologist.

      18. Templeton worked for cardiologists at the defendant’s Arlington, Texas
          location, and sought treatment for her heart condition from one of the
          cardiologists that she worked for Dr. Kramer.



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      19. Dr. Kramer gave Templeton medication available only by prescription to treat
          her SVT.

      20. Despite treatment, Templeton had more SVT attacks and after an attack
          during the time she was at work was sent to the hospital in a wheel chair.

      21. Dr. Kramer ordered extensive testing be performed on Templeton during her
          admission to the hospital.

      22. After reviewing the results of these tests, Dr. Kramer referred Templeton to a
          specialist in her condition, an electro physiologist.

      23. Dr. Kramer recommended two health care providers to Templeton: Dr. Peter
          Wells, who practiced with defendant in a Dallas location or Dr. McBride, an
          outside physician whose office was in Fort Worth.

      24. Templeton chose to seek treatment from Dr. McBride because he was an
          outside doctor and made an appointment.

      25. Salazar cancelled Templeton’s appointment with Dr. McBride and instructed
          Templeton to make an appointment to see Dr. Wells.

      26. Templeton complained to Dr. Kramer that Salazar was interfering with her
          right to seek medical treatment for her condition from Dr. McBride.

      27. Dr. Kramer directed Salazar to make an appointment for Templeton to see Dr.
          McBride.

      28. Salazar made the appointment, but later cancelled it over Templeton’s
          objection and made an appointment for Templeton to see Dr. Wells.

      29. Templeton’s heart condition was a serious health condition within the
          meaning of the FMLA.

      30. Templeton saw a physician for her heart condition on more than two
          occasions and had more than three consecutive days of incapacity due to the
          condition.

      31. Templeton was absent for a number of days in December 2003, but returned
          to work in January 2004.

      32. Templeton noted that defendant had given performance evaluations to the
          employees at the Arlington, Texas location in January 2004, but that no one
          had discussed her performance evaluation with her.




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      33. Templeton asked Cliff Penton, one of defendant’s human resources personnel
          why she had not had a review and when she might expect to receive it.

      34. Penton said that Templeton had not been at work when the other employees’
          performance evaluations had been conducted, a fact that Templeton knew to
          be false.

      35. Templeton continued to request her performance evaluation and on another
          occasion Penton told her that he had misplaced her paperwork. On yet
          another occasion, Penton told Templeton that it had slipped his mind.

      36. In addition, Templeton noticed a change in demeanor toward her by Penton
          who had been friendly and talkative to her when he was in the Arlington
          office, but who had avoided looking at her, started avoiding her and stopped
          talking with her about things such as how her animals were doing, etc.

      37. Templeton continued to seek treatment for her heart from Dr. Wells who told
          her at her appointment on or about Monday, February 9, 2004, that she would
          need a pacemaker to regulate her heartbeat.

      38. Dr. Wells informed Templeton that when she had the surgery for the
          pacemaker she would need a minimum of a thirty (30) day leave of absence.

      39. On or about Tuesday, February 10 or Wednesday, February 11, Templeton
          told Salazar that Dr. Wells had predicted she would need a pacemaker to
          regulate her heart and that she would require at least a 30 day leave.

      40. On Thursday, February 12, 2004, Templeton who was known to arrive at
          work at least half an hour early, was met by Christine Billingsley, defendant’s
          human resources manager.

      41. Billingsley told Templeton she was fired and that she should leave before the
          other employees arrived.

      42. Templeton asked rhetorically if she were being fired because of her heart
          condition and then stated that she thought that that would be illegal

      43. Billingsley responded that they had discussed Templeton’s medical condition
          and had determined that it was not life-threatening.

      44. Defendant later claimed it had fired Templeton because she had allegedly
          using profanity several weeks before.

      45. Templeton did not use profanity and the reason provided by defendant is
          pretext.




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      46. Templeton worked in excess of forty hours a w

      47. Templeton was not paid compensation for the extra time and is entitled to be
          paid at time and half for the work.

                             V. CLAIMS FOR RELIEF


                           FIRST CLAIM FOR RELIEF

                   Interference with rights in violation of the FMLA

      48. Templeton restates, realleges and incorporates the allegations set forth above
          in paragraphs 1 through 47.

      49. Defendant interfered with Templeton’s attempt to take leave to seek treatment
          for a serious health condition by denying her requests for time off for doctor’s
          appointment and canceling appointments that Templeton had made to seek
          medical treatment for the condition.

      50. Defendant interfered with Templeton’s ability to schedule the surgical
          treatment recommended by her obstetrician and knew that that surgery was
          necessary and would be required in the future.

      51. Defendant also knew that Templeton would need a pacemaker and that she
          would need at least a thirty day leave of absence to recover from the
          procedure.

      52. Defendant terminated Templeton’s employment so that it would not be
          required to accommodate Templeton’s need for leave to seek medical
          treatment for her serious health conditions. .

      53. Defendant’s actions interfered with Templeton’s rights under the FMLA are a
          violation of the Act for which Templeton seeks a remedy..


                              SECOND CLAIM FOR RELIEF

                    Retaliatory discharge in violation of the FMLA

      54. Templeton restates, realleges and incorporates the allegations set forth above
          in paragraphs 1 through 53 above.

      55. Defendant terminated Templeton in retaliation for her exercise of rights under
          the FMLA.




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      56. The FMLA prohibits retaliation against an employee who seeks the benefits of
          the Act.

      57. Defendant’s actions in retaliating against Templeton are a violation of the Act
          for which Templeton seeks a remedy.

                           THIRD CLAIM FOR RELIEF

                   Violation of the Americans with Disabilities Act

      58. Templeton restates, realleges and incorporates the allegations set forth above
          in paragraphs 1 through 57 above.

      59. Templeton has and has record of and is regarded as having a physical or
          mental impairment that substantially limits one or more major life activities.

      60. Templeton was qualified for the position of echo cardiographer since she
          satisfied the skill, experience, education and other job related requirements for
          the position.

      61. Templeton can perform the essential functions of the position of an echo
          cardiographer with reasonable accommodation.

      62. Templeton’s disability, actual, history or and perceived, was a motivating
          factor in defendant’s decision to terminate her employment.

      63. Defendant violated the Americans with Disabilities Act (ADA) by
          discharging and/or discriminating against Templeton based on her actual
          history of, and perceived disability.

      64. Templeton filed a charge of discrimination with the Equal Employment
          Opportunity Commission (EEOC) and was issued a Notice of Right to Sue.

      65. All conditions precedent to filing this cause of action under the ADA have
          been fulfilled.

      66. Templeton has been damaged by, and seeks recovery of these damages, for
          this violation of her rights.

                          FOURTH CLAIM FOR RELIEF

                Violation of Texas Commission on Human Rights Act

      67. Templeton restates, realleges and incorporates the allegations set forth above
          in paragraphs 1 through 66 above.




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      68. Templeton has and has record of and is regarded as having a physical or
          mental impairment that substantially limits one or more major life activities.

      69. Templeton was qualified for the position of echo cardiographer since she
          satisfied the skill, experience, education and other job related requirements for
          the position.

      70. Templeton can perform the essential functions of the position of an echo
          cardiographer with reasonable accommodation.

      71. Templeton’s disability, actual, history or and perceived, was a motivating
          factor in defendant’s decision to terminate her employment.

      72. Defendant violated §21.051 of the Texas Labor Code by discharging and/or
          discriminating against Templeton based on her actual history of, and
          perceived disability.

      73. Templeton filed a charge of discrimination with the Texas Commission on
          Human Rights and was issued a right to sue notice.

      74. All conditions precedent to filing this cause of action have been fulfilled

      75. Templeton has been damaged by, and seeks recovery for, this violation of her
          rights.

                           FIFTH CLAIM FOR RELIEF

           Violation of Employee Retirement Income Security Act of 1974

      76. Templeton restates, realleges and incorporates the allegations set forth above
          in paragraphs 1 through 75.

      77. Defendant discriminated against and eventually discharged Templeton in
          violation of §510 of the Employee Retirement Income Security Act (ERISA).

      78. Templeton was a participant in an employee benefit plan maintained by
          defendant.

      79. Defendant terminated Templeton for the purpose of interfering with the
          attainment or exercise of rights which Templeton was entitled to under the
          plan and with the specific intent to discriminate against Templeton.

      80. Templeton has been damaged by, and seeks recovery of, the damages she
          sustained as a result of this violation of her rights.




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                           SIXTH CLAIM FOR RELIEF

                       Violation of the Fair Labor Standards Act

      81. Templeton restates, realleges and incorporates the allegations set forth above
          in paragraphs 1 through 80.

      82. Templeton would further show that she worked in excess of forty hours a
          week during her employment with CPR, that she was entitled to by paid
          overtime for work in excess of forty hours, and that she was not paid this
          overtime as required by the Fair Labor Standards Act (FLSA).

                         SEVENTH CLAIM FOR RELIEF

          Negligence in Maintaining the Confidentiality of Medical Records

      83. Templeton restates, realleges and incorporates the allegations set forth above
          in paragraphs 1 through 82.

      84. The Health Insurance Portability and Accountability Act (HIPAA) create a
          duty of care with respect to the privacy of health information.

      85. Defendant breached this duty when it released to Salazar, Billingsley and
          others not yet identified and when the same discussed Templeton’s
          confidential health condition among people who did not have a right to know.

      86. As a result of this failure to maintain the confidentiality of Templeton’s
          medical information, the information was used against Templeton as part of
          an adverse employment decision.

      87. Templeton was damaged by, and seeks recovery of damages sustained as a
          result of this violation of her rights.

                           VI. EXEMPLARY DAMAGES

      88. Templeton restates, realleges and incorporates the allegations set forth above
          in paragraphs 1 through 87

      89. Defendant acted with actual malice e.g. ill-will, spite, evil motive, or purpose
          to injure another.

      90. Templeton’s harm was a result of these willful and intentional acts on the part
          of defendant.

      91. Templeton seeks exemplary damages.




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                                  VII. JURY DEMAND

      92. Templeton demands a trial by jury of the claims triable by jury raised in this
          complaint.

                              VII. PRAYER FOR RELIEF

      Wherefore Templeton prays for the following relief:

              1. Back pay, including, but not limited to, lost earnings and employee
      benefits in the past for each claim for relief alleged above.

               2. Front pay, including, but not limited to, lost earnings and employee
      benefits that in reasonable probability will be lost in the future for each claim for
      relief alleged above .

             3. Compensatory damages, past and future which may include emotional
      pain and suffering, inconvenience, mental anguish, loss of enjoyment of life, and
      other nonpecuniary losses.

                4. Exemplary damages in an amount that will deter such conduct in the
      future.

                5. Reinstatement, if feasible.

                6. Reasonable and necessary attorney’s fees.

                7. Costs and pre and post-judgment interest.

            8. Such other and further relief, both legal and equitable, to which
      Templeton may be justly entitled.


                                                 Respectfully submitted,


                                                 s/    N. Sue Allen
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                           CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was served August 31, 2006, to defendant’s

counsel of record via the Court’s ECF Filing System to:

                                            Carrie B. Hoffman
                                            Michele C. Spillman
                                            GARDERE WYNNE SEWELL LLP
                                            1601 Elm Street
                                            3000 Thanksgiving Tower
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                                                    s/ N. Sue Allen
                                                    N. Sue Allen




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